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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                         NORTHERN DIVISION

VERNON FLETCHER                                                        PLAINTIFF

V.                        CASE NO. 3:20-CV-249-JM-BD

JOHN BALORY and
JOHN CATER                                                          DEFENDANTS

                                  JUDGMENT

     Consistent with the Order that was entered on this day, it is CONSIDERED,

ORDERED, and ADJUDGED that this case is hereby DISMISSED, WITHOUT

PREJUDICE.

     IT IS SO ORDERED, this 9th day of November, 2020.


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                                            UNITED STATES DISTRICT JUDGE
